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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS


ASSIA BOUNDAOUI,                                  )
                                                  )
                  Plaintiff,                      )
                                                  )       Case No.
       v.                                         )
                                                  )
FEDERAL BUREAU OF INVESTIGATION                   )
and UNITED STATES DEPARTMENT OF                   )
JUSTICE,                                          )
                                                  )
                  Defendants.                     )
                                                  )

            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF
       This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552 against

defendant the Federal Bureau of Investigation (“FBI”) and the U.S. Department of Justice (“DOJ”)

(collectively, “the Defendants”), for declaratory, injunctive, and other appropriate relief, seeking

the expedited processing and release of records improperly withheld by the Defendants in response

to a request properly made by Plaintiff Assia Boundaoui.

                                       INTRODUCTION

       Throughout the 1990s and 2000s, Arab American neighborhoods just outside of Chicago

were subject to widespread surveillance as part of one of the largest anti-terrorism investigations

ever conducted in the United States before 9-11. That investigation, which was code-named
“Operation Vulgar Betrayal,” is now the subject of Plaintiff’s investigative journalism and a

feature-length documentary film entitled, “The Feeling of Being Watched.” The documentary,

which is scheduled for release in 2018, follows Plaintiff’s journey to uncover why her

community fell under blanket government surveillance, and why the community feels even more

targeted today.

       On September 30, 2016, Plaintiff submitted a FOIA request (the “Request”) to

Defendants seeking the release of FBI records concerning the criminal investigation file of

Operation Vulgar Betrayal. Plaintiff sought expedited processing and a waiver of fees.
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Defendants denied both requests and set a production timetable of more than three years for the

release of the relevant records.

       There is a strong public interest in the release of these records. Members of the Arab and

Muslim American communities affected directly by the surveillance, and Americans of all

backgrounds, have an urgent need to understand the broad scope of these investigations spurred

by policies that profiled entire communities based on religion and ethnicity. The harm these

decades-long investigations have had on these neighborhoods is profound. They have

transformed communities into places where neighbors distrust one another, where citizens censor

themselves for fear of government monitoring, and where people live with an unhealthy dose of

fear and paranoia. The records will help cast light on fundamental rights to privacy in the United

States. Plaintiff is entitled to immediate processing of the Request and timely release of

Defendants’ records.

                                            PARTIES

       1.      Plaintiff Assia Boundaoui, a resident of Chicago, Illinois, is an internationally

recognized journalist and documentary filmmaker, and has experience in both reporting and

producing for a variety of news and media outlets including, CNN, BBC, Vice Media, and HBO

Films. Since receiving a Masters Degree in Journalism from New York University’s Graduate

School of Arts and Sciences in 2011, Plaintiff has dedicated her work to informing the public

regarding government policies on homeland security and government oversight.

       2.      Defendant FBI is a component of the DOJ. It is headquartered in Washington, D.C.

and has field offices throughout the country, including Chicago, Illinois.

       3.      Defendant DOJ is a Department of the Executive Branch of the U.S. Government

and a federal agency within the meaning of 5 U.S.C. § 552(f) and 5 U.S.C. § 552a(a)(1). The DOJ

is headquartered in Washington, D.C.

                                   JURISDICTION AND VENUE

       4.      This Court has both subject matter jurisdiction of this FOIA claim and personal

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jurisdiction over the parties pursuant to 5 U.S.C. §§ 552 (a)(4)(A)(vii), (a)(4)(B), and

(a)(6)(E)(iii); 28 U.S.C. § 1331; and 5 U.S.C. §§ 701-06.

         5.     Venue in the Northern District of Illinois is proper under 5 U.S.C. § 552(a)(4)(B).

                                   STATEMENT OF FACTS

         6.     Throughout the 1990s and 2000s, Arab American neighborhoods just outside of

Chicago were subject to widespread surveillance as part of one of the largest anti-terrorism

investigations ever conducted on U.S. soil before 9-11. The investigation, code-named

“Operation Vulgar Betrayal,” is the subject of Plaintiff’s investigative journalism and a feature-

length documentary film entitled “The Feeling of Being Watched.”

                                           FOIA Request

         7.     On September 26, 2016, Plaintiff Ms. Boundaoui submitted an electronic FOIA

request to the DOJ’s Office of Legal Counsel seeking: “[t]he main file and all sub-files for the

criminal investigation codenamed Operation Vulgar Betrayal, 265-CG-101942, which began

around 1995,” as well as “all files related to the intelligence investigation associated with” the

Operation, “[a]ll files related to the investigation that continued the work of 265-CG-101942 in

the 2000’s[,] [a]ll photographic, video, and audio media associated with this investigation . . .

[and] any and all DD5 formal write-ups of investigative work done by FBI agents pursuing the

case.”

         8.     Ms. Boundaoui’s FOIA application also included a request for expedited

processing and a fee waiver. In her request for expedited processing, Ms. Boundaoui informed

the DOJ that, as “a journalist and documentary filmmaker,” she “urgently need[s] [the requested]

documents to inform the public about homeland security policies and enforcement methods of

terrorism investigations in the 1990s and 2000s.”

                            The Defendants’ Response to the Request

         9.     On September 30, 2016, the DOJ denied Ms. Boundaoui’s request for expedited

processing, alleging that she “ha[d] not provided enough information concerning the statutory

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requirements for expedition” because she did not “provide[] a compelling argument explaining

why the public needs information on [Operation Vulgar Betrayal] immediately.”

       10.     In support of her request for a fee waiver, Ms. Boundaoui explained to the DOJ

that the public would benefit from information regarding Operation Vulgar Betrayal, as the

“investigation pertained to matters of national and homeland security,” and Ms. Boundaoui was

“engaged in informing the public regarding government policies on homeland security, and the

enforcement of these policies.”

       11.     On October 14, 2016, the DOJ denied Ms. Boundaoui’s fee waiver request on the

grounds that she “failed to demonstrate . . . that the requested information is in the public

interest” because “[t]he disclosure of [the requested] information would not contribute to the

understanding of a reasonably broad audience of persons interested in the subject,” and because

Ms. Boundaoui allegedly did “not demonstrate[] [her] expertise in the subject area, [her] ability,

and/or [her] intention to effectively convey the information to the public.”

                                  Plaintiff’s Administrative Appeal

       12.     On October 18, 2016, Ms. Boundaoui filed an administrative appeal of the DOJ’s

denial of her requests for expedited processing and a fee waiver.

       13.     The administrative appeal for expedited processing was denied on October 27,

2016 for the purported failure to “establish[] that the requested records are a matter of current

exigency to the American public” as a reason for the denial. The DOJ did not address Ms.

Boundaoui’s fee waiver appeal at that time.

       14.     On November 10, 2016, Ms. Boundaoui contacted the FOIA Public Liaison

Office via email to solicit a response to her fee waiver appeal but did not receive a response.

       15.     On November 15, 2016, Ms. Boundaoui spoke with a representative from the FBI,

who informed her that it would take approximately three years and three months to process the

documents she sought in her FOIA request, and suggested that she contact the FBI’s Records

Management Division to discuss reducing the scope of her request.

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       16.     On December 20, 2016, Ms. Boundaoui sent a letter to the FBI Records

Management Division requesting an opportunity to address scoping issues related to her FOIA

request. Ms. Boundaoui did not receive a response to the request.

       17.     By the terms of 5 U.S.C. § 552(a)(6)(A), the time in which the DOJ was required

to respond to Ms. Boundaoui’s fee waiver appeal has expired. As a result, Ms. Boundaoui is

deemed to have exhausted her administrative remedies regarding her FOIA fee waiver request. 5

U.S.C. § 552(a)(6)(C)(i).

       18.     On April 24, 2017, counsel, on behalf of Ms. Boundaoui, contacted the DOJ’s

Office of Information Policy seeking to address scoping issues relating to Ms. Boundaoui’s

original request, and to suggest reaching an agreement whereby the Defendants could produce

the requested documents on an expedited, but rolling basis.

       19.     On May 8, 2017, the FBI contacted Ms. Boundaoui indicating its willingness to

move forward with her FOIA request, subject to certain limitations. Again, the FBI indicated

that it would not expedite Ms. Boundaoui’s original request and that it would take approximately

three years to process the requested documents. The FBI suggested that Ms. Boundaoui accept a

production of documents that had already been made available to the public, and consider

narrowing the scope of her request, such that a subset of her request could be produced on the

“medium track” speed.

       20.     On May 19, 2017, the DOJ’s Office of Information Policy mailed a letter to

counsel confirming its original decision denying Ms. Boundaoui’s October 2016 appeal with

regard to her expedited processing claim, and opening a “new appeal” file regarding Ms.

Boundaoui’s October 2016 fee waiver appeal.

       21.     On May 23, 2017, counsel acting on behalf of Ms. Boundaoui, contacted the FBI

and reiterated its interest in obtaining all of the documents Ms. Boundaoui originally requested,

but suggested that the documents be prioritized in a manner amenable to both parties.

       22.     On May 25, 2017, the FBI sent an email stating that Ms. Boundaoui’s request

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would only be placed on a “moderate track” processing schedule if she limited the scope of her

request to three files (out of a minimum 19 total files). Simultaneously, she would be required to

close out her original requests for the remaining files, with the option of filing new FOIA

requests in the future. The FBI stated that the documents contained in the initial three files

would still take approximately seven months to produce.

       23.     The DOJ has unjustifiably neglected Ms. Boundaoui’s fee waiver appeal and

wrongfully delayed release of the records sought by her. There is a substantial public interest in

the timely disclosure of the documents requested. The DOJ’s refusal to release this information

and address Ms. Boundaoui’s appeal claim in a timely manner constitutes an abuse of the DOJ’s

discretion.

                                     CAUSES OF ACTION

                                               COUNT I

       24.     Ms. Boundaoui repeats and realleges the allegations contained in the foregoing

paragraphs as though fully set forth herein.

       25.     Defendants’ failure to timely respond to Plaintiff’s fee waiver appeal violates

FOIA, 5 U.S.C. § 552(a)(6)(A), and Defendants’ corresponding regulations.

       26.     Defendants’ failure to grant Plaintiffs’ request for a fee waiver violates FOIA, 5

U.S.C. § 552(a)(4)(A)(iii).

                                               COUNT II

       27.     Ms. Boundaoui repeats and realleges the allegations contained in paragraphs 1

through 23 above, inclusive.

       28.     Defendants are an agency and component thereof subject to FOIA, 5 U.S.C. §

552(f), and must therefore release in response to a FOIA request any disclosable records in their

possession at the time of the request and provide a lawful reason for withholding any materials as

to which they claim an exemption, under 5 U.S.C. § 552(a)(3).

       29.     Ms. Boundaoui has a legal right under FOIA to obtain the agency records she

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requested on September 26, 2016, and there exists no legal basis for the DOJ’s failure to make

available these records in a timely manner.

       30.     The DOJ’s failure to make promptly available the records sought by Ms.

Boundaoui’s request violates FOIA, 5 U.S.C. § 552(a)(3)(A) and applicable regulations

promulgated thereunder.

                                              COUNT III

       31.     Ms. Boundaoui repeats and realleges the allegations contained in paragraphs 1

through 23 above, inclusive.

       32.     Defendants’ failure to grant Plaintiff’s request for expedited processing violates

FOIA, 5 U.S.C. § 552(a)(6)(E), and applicable regulations promulgated thereunder.

                                            COUNT IV

       33.     Ms. Boundaoui repeats and realleges the allegations contained in paragraphs 1

through 23 above, inclusive.

       34.     Defendants have wrongfully withheld agency records requested by Plaintiff.

Plaintiff has constructively exhausted applicable administrative remedies with respect to

Defendants’ withholding of the requested records. 5 U.S.C. § 552(a)(6)(C)(i).

       35.     Plaintiff is entitled to injunctive relief with respect to the release and disclosure of

the requested records.

                                     REQUESTED RELIEF

WHEREFORE, Plaintiff Ms. Boundaoui requests the Court award her the following relief:

       1.      Declare that Defendants violated FOIA by failing to respond to Plaintiff’s fee

waiver appeal and subsequent communications;

       2.      Order Defendants to immediately conduct a reasonable search for all responsive

records and disclose the requested records to Plaintiff on an expedited basis at no cost, and enter

an injunction prohibiting the Defendant from continuing to withhold the requested records from

the public;

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          3.   Order Defendants to produce the records sought without the assessment of search

fees;

          4.   Award Ms. Boundaoui her reasonable costs and attorneys’ fees incurred in this

action;

          5.   Grant such other relief as the Court may deem just and proper.



Dated: June 26, 2017

                                            Respectfully submitted,




                                            /s Patrick E. Croke_________________________
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